Case 4:23-cv-00860-P Document 316 Filed 10/15/24 Page 1 of 82 ee 19548

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UNITED STATES DISTRICT COURT }
FOR THE NORTHERN DISTRICT OF TEXAS,
FORT WORTH DIVISION CT 15 2024

AMERICAN AIRLINES, INC., cl, CUS DTIC COURT

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Plaintiff
Vv. No. 4:23-cv-00860-P
SKIPLAGGED, INC.,

Defendant.
JURY CHARGE

GENERAL INSTRUCTIONS
MEMBERS OF THE JURY:

You have heard the evidence in this case. I will now instruct you on
the law that you must apply. It is your duty to follow the law as I give it
to you. On the other hand, you the jury are the judges of the facts. Do
not consider any statement that I have made during trial or make in
these instructions as an indication that I have any opinion about the
facts of this case.

You will hear the closing arguments of the attorneys. Statements
and arguments of the attorneys are not evidence and are not
instructions on the law. They are intended only to assist the jury in

understanding the evidence and the parties’ contentions.
Case 4:23-cv-00860-P Document 316 Filed 10/15/24 Page 2 of 32 PagelD 19549

Answer each question from the facts as you find them. Do not decide
who you think should win and then answer the questions accordingly.
Your answers and your verdict must be unanimous.

You must answer all questions by a preponderance of the evidence.
This means the greater weight and degree of credible evidence before
you. In other words, a preponderance of the evidence just means the
amount of evidence that persuades you that a claim is more likely so
than not so.

Plaintiff American Airlines, Inc. has the burden of proving its case
by a preponderance of the evidence. To establish by a preponderance of
the evidence means to prove something is more likely so than not so,
which means the greater weight of credible evidence presented in this
case, If you find that American Airlines has failed to prove any element
of its claim by a preponderance of the evidence, then it may not recover
on that claim. A preponderance of the evidence is not measured by the
number of witnesses or by the number of documents admitted in
evidence.

In determining whether any fact has been proved by a
preponderance of the evidence in the case, you may, unless otherwise
instructed, consider the testimony of all witnesses, regardless of who
may have called them, and all exhibits received in evidence, regardless

of who may have produced them. In determining the weight to give to
Case 4:23-cv-00860-P Document 316 Filed 10/15/24 Page3of32 PagelD 19550

the testimony of a witness, you should ask yourself whether there was
evidence tending to prove that the witness testified falsely concerning
some important fact, or whether there was evidence that at some other
time the witness said or did something, or failed to say or do something,
that was different from the testimony the witness gave during the trial.

You should keep in mind that a simple mistake by a witness does not
necessarily mean that the witness was not telling the truth as he or she
remembers it, because people may forget some things or remember other
things inaccurately. So, ifa witness has made a misstatement, you need
to consider whether that misstatement was an intentional falsehood or
simply an innocent lapse of memory; and the significance of that may
depend on whether it has to do with an important fact or with only an
unimportant detail.

While you should consider only the evidence in this case, you are
permitted to draw such reasonable inferences from the testimony and
exhibits as you feel are justified in the light of common experience. In
other words, you may make deductions and reach conclusions that
reason and common sense lead you to draw from the facts that have been
established by the testimony and evidence in the case.

You alone are to determine the questions of credibility or
truthfulness of the witnesses. In weighing the testimony of the

witnesses, you may consider the witness’s manner and demeanor on the

Case 4:23-cv-00860-P Document 316 Filed 10/15/24 Page4of32 PagelD 19551

witness stand, any feelings or interest in the case, or any prejudice or
bias about the case, that he or she may have, and the consistency or
inconsistency of his or her testimony considered in the light of the
circumstances. Has the witness been contradicted by other credible
evidence? Has he or she made statements at other times and places
contrary to those made here on the witness stand? You must give the
testimony of each witness the credibility that you think it deserves.

Even though a witness may be a party to the action and therefore
interested in its outcome, the testimony may be accepted if it is not
contradicted by direct evidence or by any inference that may be drawn
from the evidence, if you believe the testimony.

You are not to decide this case by counting the number of witnesses
who have testified on the opposing sides. Witness testimony is weighed;
witnesses are not counted. The test is not the relative number of
witnesses, but the relative convincing force of the evidence. The
testimony of a single witness is sufficient to prove any fact, even if a
greater number of witnesses testified to the contrary, if after considering
all of the other evidence, you believe that witness.

There are two types of evidence that you may consider in properly
finding the truth as to the facts in the case. One is direct evidence—such
as testimony of an eyewitness. The other is indirect or circumstantial

evidence—the proof of a chain of circumstances that indicates the

Case 4:23-cv-00860-P Document 316 Filed 10/15/24 Page5of32 PagelD 19552

existence or nonexistence of certain other facts. As a general rule, the
law makes no distinction between direct and circumstantial evidence,
but simply requires that you find the facts from a preponderance of all
the evidence, both direct and circumstantial.

When knowledge of technical subject matter may be helpful to the
jury, a person who has special training or experience in that technical
field—he is called an expert witness---is permitted to state his opinion
on those technical matters. You are not required to accept that opinion.
As with any other witness, it is up to you to decide whether to rely upon
it.

In deciding whether to accept or rely upon the opinion of an expert
witness, you may consider any bias of the witness, including any bias
you may infer from evidence that the expert witness has been or will be
paid for reviewing the case and testifying, or from evidence that he
testifies regularly as an expert witness and his income from such
testimony represents a significant portion of his income.

Any notes that you have taken during this trial are only aids to
memory. If your memory should differ from your notes, then you should
rely on your memory and not on the notes. The notes are not evidence.
A juror who has not taken notes should rely on his or her independent

recollection of the evidence and should not be unduly influenced by the
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Case 4:23-cv-00860-P Document 316 Filed 10/15/24 Page6of32 PagelD 19553

notes of other jurors. Notes are not entitled to any greater weight than
the recollection or impression of each juror about the testimony.

When you retire to the jury room to deliberate on your verdict, you
may take this charge with you as well as exhibits which the Court has
admitted into evidence. Select your Foreperson and conduct your
deliberations. If you recess during your deliberations, follow all of the
instructions that the Court has given you about your conduct during the
trial. After you have reached your unanimous verdict, your Foreperson
is to fill in on the form your answers to the questions. Do not reveal your
answers until such time as you are discharged, unless otherwise
directed by me. You must never disclose to anyone, not even to me, your
numerical division on any question.

If you want to communicate with me at any time, please give a
written message or question to the bailiff, who will bring it to me. I will
then respond as promptly as possible either in writing or by having you
brought into the courtroom so that I can address you orally. I will always
first disclose to the attorneys your question and my response before |
answer your question. After you have reached a verdict, you are not
required to talk with anyone about the case unless the Court orders

otherwise.
Case 4:23-cv-00860-P Document 316 Filed 10/15/24 Page 7of32 PagelD 19554

INSTRUCTIONS FOR ANSWERING QUESTIONS

Bias, prejudice, or sympathy may not play any part in your
deliberation. A corporation and all other persons are equal under the

law and must be treated as equals in a court of law.

Do not consider questions that ask you to provide an amount of
damages unless you answered “yes” to a previous question that prompts

you to provide an amount of damages.

In answering questions about damages, answer each question
separately. Do not increase or reduce the amount in one answer simply
because of your answer to any other question about damages. Do not
answer based on a speculation about what any party’s ultimate recovery
may or may not be. Any recovery will be ultimately approved by the
Court when it applies the law to your answers at the time of judgment.
Do not add any amount of interest to any of your answers on damages,

if any. Answer in dollars and cents, if any.
Case 4:23-cv-00860-P Document 316 Filed 10/15/24 Page 8of32 PagelD 19555

QUESTIONS

CLAIM 1: COPYRIGHT INFRINGEMENT

The Court has previously ruled that Skiplagged is hable to American
Airlines on its claim of copyright infringement. However, you must
determine American Airlines’ damages from Skiplagged’s copyright
infringement. American Airlines is entitled to recover the actual
damages suffered as a result of the infringement. In addition, American
is also entitled to recover any profits of the defendant attributable to the
infringement. To prove damages, American Airlines must show by a
preponderance of the evidence that but for Skiplagged’s infringement,
American Airlines would not have suffered the losses claimed.

Actual damages means the amount of money adequate to compensate
American Airlines for the reduction of the fair market value of its
copyrighted work caused by the infringement. In determining actual
damages, you should consider the following:

1) The amount a willing buyer would have been
reasonably required to pay a willing seller at the time
of the infringement for Skiplagged’s actual use of
American Airlines’ copyrighted work; and

2) The profits American Airlines should have received for
any sales lost because of the infringement. Profits are
the gross revenue American Airlines would have made
on sales that did not occur because of the infringement
minus additional expenses American Airlines would

have incurred in making those sales.

A person who claims damages resulting from the wrongful act of
another has a duty under the law to use reasonable diligence to mitigate
his/her damages, that is, to avoid or to minimize those damages.

If you find Skiplagged is liable, and American Airlines has
suffered damages, American Airlines may not recover for any item of
damage which it could have avoided through reasonable effort. If you
find that Skiplagged proved by a preponderance of the evidence that
Case 4:23-cv-00860-P Document 316 Filed 10/15/24 Page9of32 PagelD 19556

American Airlines unreasonably failed to take advantage of an
opportunity to lessen its damages, you should deny its recovery for those
damages that it would have avoided had it taken advantage of the
opportunity.

You are the sole judge of whether American Airlines acted
reasonably in avoiding or minimizing its damages. An injured plaintiff
may not sit idly by when presented with an opportunity to reduce his
damages. However, a plaintiff is not required to exercise unreasonable
efforts or incur unreasonable expenses in mitigating the damages.
Skiplagged has the burden of proving the damages that American
Airlines could have mitigated. In deciding whether to reduce American
Airlines’ damages because of its failure to mitigate, you must weigh all
the evidence in light of the particular circumstances of the case, using
sound discretion in deciding whether Skiplagged has satisfied its burden
of proving that American Airlines’ conduct was not reasonable.

In addition to actual damages, American Airlines is entitled to any
profits of Skiplagged attributable to the infringement. You may not
include in an award of profits any amount that you took into account in
determining actual damages.

You may make an award of Skiplagged’s profits only if you find that
American Airlines showed a causal nexus between the infringement and

Skiplagged’s gross revenue.

Skiplagged’s profit is determined by subtracting all expenses from
its gross revenue attributable to the infringement.

Skiplagged’s gross revenue is all of its receipts from the sale of
products and services associated with the infringement. American
Airlines has the burden of proving Skiplagged’s gross revenue by a
preponderance of the evidence.

Expenses are all operating costs, overhead costs, and/or production
costs incurred in producing Skiplagged’s gross revenue associated with
the infringement. Skiplagged has the burden of proving its expenses by
a preponderance of the evidence.

"Case 4:23-cv-00860-P Document 316 Filed 10/15/24 Page 10 of 32 PagelD 19557

Unless you find that a portion of the profit generated from
Skiplagged’s sale of products and services associated with the
infringement is attributable to factors other than use of the copyrighted
work, all of the profit is to be attributed to the infringement. Skiplagged
has the burden of proving the portion or percentage of the profit, if any,
attributable to factors other than copying or infringing American
Airlines’ copyrighted work.

Question No. 1: What amount of actual damages, if any, did American

Airlines prove, by a preponderance of the evidence, that it is entitled to
recover as a result of Skiplagged’s copyright infringement? Please

answer in dollars and cents.

Answer: $ (4,000, 000.00

If you answer Question 1 with an amount greater than $0 then
answer Question 2. If not proceed to Question 4.

Question No. 2: Did Skiplagged prove by a preponderance of the

evidence that American Airlines failed to mitigate its copyright

infringement actual damages?

Answer “Yes” or “No”: Ye§

If you answer Question 2 “Yes” then answer Question 3. If you
answer “No” proceed to Question 4.

Question No. 3: What amount of copyright infringement actual

damages did American Airlines fail to mitigate through the exercise of

reasonable diligence? Please answer in dollars and cents.
Answer: $ iH, 300, OOdG OO

Proceed to Question 4.

10

"Case 4:23-cv-00860-P Document 316 Filed 10/15/24 Page11of32 PagelD 19558

Question No. 4: What amount of Skiplagged’s profits do you find
American Airlines is entitled to recover as a result of Skiplagged’s

copyright infringement? Please answer in dollars and cents.

Answer: $_4, 100, 000.90
Please proceed to Question 5.

CLAIM 2: TRADEMARK INFRINGEMENT

American Airlines also claims in this case that it owns certain
registered trademarks. Those trademarks are: (1) two-word trademarks

for the words “AMERICAN AIRLINES”; (2) two trademarks on

‘
American Airlines’ Flight Symbol logos, L®! and LS ; and (3) a combined

word and design mark for “American” with its associated Flight Symbol

American “3,

logo,

American Airlines claims that Skiplagged committed trademark
infringement by using the registered trademarks owned by American

Airlines. American Airlines’ claims arise under federal law.

American Airlines claims that, by using its registered trademarks in
connection with providing travel reservation services, providing
information in the field of travel, and providing computer applications
software for mobile devices, Skiplagged infringed each of American

Airlines’ trademarks for the word mark “AMERICAN AIRLINES,” for

11
Case 4:23-cv-00860-P Document 316 Filed 10/15/24 Page 12 of 32 PagelD 19559

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its Flight Symbol logo marks and and for its combined word

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a

American 4,

and design mark, “American” with its Flight Symbol logo

The purposes of trademark law are to secure to the owner of the
mark the goodwill of its business and to protect the ability of consumers
to distinguish among competing producers. The central question in

trademark law is the likelihood of consumer confusion.

Ownership of a trademark is established by use of the trademark
and does not need to be registered in order to obtain protection. A
trademark is any word, name, symbol, device or any combination of
these things, used by a person or corporation to identify and distinguish
its goods or services from those sold by others and to indicate the source
of the goods or services, even if that source is unknown to the consumer.
If through use, the word or design comes to symbolize a person’s or
corporation’s product or service in the public mind, that person or

corporation acquires a property right in the mark.

American Airlines bears the burden of proving by a preponderance
of the evidence that it has acquired property rights in each trademark it
asserts in this case before there can be infringement of that trademark.
A trademark need not, but can be, registered with the United States
Patent and Trademark Office. This is called a United States or federal

trademark registration. A federal trademark registration is evidence of

12
Case 4:23-cv-00860-P Document 316 Filed 10/15/24 Page130f32 PagelD 19560

the registrant’s exclusive right to use the mark in commerce in

connection with the goods or services specified in the registration.

American Airlines asserts that it is the owner of the following five

trademarks and corresponding U.S. Trademark Registrations:

1) The word trademark, “AMERICAN AIRLINES”. American
Airlines claims rights to this trademark under federal law.
American owns two federal trademark registrations for
this name mark. American Airlines’ federal trademark for
the word mark “American Airlines” specifies the goods and

services associated with this mark as:

a. “air transport of passengers, cargo, and freight;
providing travel agency services, namely,
providing travel reservation services for others,
namely, coordinating travel arrangements for
individuals and for groups, providing
information in the field of travel by means of a
global computer network; etc.” (Int'l Class 09);

and

b. “computer application software for mobile
devices and handheld computers, namely,
software for providing information in the fields of

travel, transportation and loyalty award

13
Case 4:23-cv-00860-P Document 316 Filed 10/15/24 Page14of32 PagelD 19561

programs; computer application software for
mobile devices; computer application software for
mobile devices and handheld computers, namely,
software for ticketing passengers, checking
reservations, and checking flight status” (Int'l

Class 39).

2) The logo trademark, American Flight Symbol Gn color)

©). American Airlines claims rights to this trademark

under federal law. American Airlines owns a federal
trademark registration for this mark. American Airlines’
federal trademark registration for this logo trademark
specifies the goods/services associated with this mark as:
“air transportation of passengers, cargo, and freight;
providing travel agency services, namely, providing
transportation reservation services for others, air
transportation reservation services for others, etc. by
means of a global computer network; providing information
in the field of travel by means of a global computer

network.” (Int'l Class 39).

3) The logo trademark, American Flight Symbol (black

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and white) . American Airlines claims rights to this

14
Case 4:23-cv-00860-P Document 316 Filed 10/15/24 Page15of32 PagelD 19562

trademark under federal law. American Airlines owns a
federal trademark registration for this mark. American
Airlines’ federal trademark registration for this logo
trademark specifies the goods/services associated with this
mark as: “air transport of passengers, cargo, and freight;
providing travel agency services, namely, providing travel
reservation services for others, air transportation
reservation services for others, ground support services in
the field of air transportation, namely, marking, sorting,
loading, unloading, transfer, and transit of cargo and
passengers’ luggage; providing information concerning
cargo and passengers’ luggage in transit and delivery; air
travel passenger ticketing and check-in services; booking
and providing ancillary travel services, namely, making
reservations in the nature of seat selection, baggage check-
in; airport ramp services, namely, transfer of checked
baggage to aircraft; airport ramp services, namely, transfer
of carry-on baggage to aircraft; airline services, etc.” (Int'l

Class 39).

4) The combined word and symbol trademark,

American “s

‘a,

“American” with Flight Symbol logo

American Airlines claims rights to this trademark under

15

Case 4:23-cv-00860-P Document 316 Filed 10/15/24 Page16of32 PagelD 19563

federal law. American Airlines owns a federal trademark
registration for this mark. American’s federal trademark
registration for this logo trademark specifies the
goods/services associated with this mark as: “air transport
of passengers, cargo, and freight; providing travel agency
services, namely, providing travel reservation services for
others, namely, coordinating travel arrangements for
individuals and for groups, air transportation reservation
services for others, and vacation reservation services by
means of a global computer network, namely, coordinating
travel arrangements for individuals and for groups;
providing information in the field of travel by means of a

global computer network.” (Int'l Class 39)

To prevail on its claims against Skiplagged, American must prove by
a preponderance of the evidence that Skiplagged’s use of American
Airlines’ marks creates a likelihood of confusion in the minds of potential
consumers as to the source, affiliation, or sponsorship of the products
and services offered by Skiplagged. Likelihood of confusion means a
probability of confusion, which is more than a mere possibility of

confusion.

In determining whether American has proven by a preponderance of

the evidence that there is a likelihood of confusion with respect to the

16

Case 4:23-cv-00860-P Document 316 Filed 10/15/24 Page 17 of 32 PagelD 19564

source, affiliation, or sponsorship of the products and services offered by
Skiplagged, you should consider the following factors, known as “digits

of confusion,” separately as to each allegedly infringed mark:
1) The type and strength of American’s marks;

2) The similarity between American’s marks and the

marks used by Skiplagged;

8) The similarity of products and services supplied by
American and the products and services supplied by

Skiplagged while using American’s marks;

4) The identity of retail outlets and purchasers of

American’s and Skiplagged’s products and services;

5) The identity of advertising media used by American and
Skiplagged;

6) Skiplagged’s intent in using American’s marks;

7) Evidence of actual confusion caused by Skiplagged’s use

of American’s marks; and
8) The degree of care exercised by potential purchasers.

The weight to be given to the factors depends on the facts and
circumstances of each case. The absence or presence of any one of the
digits does not determine whether there is, or is not, a likelihood of

confusion. In some cases, a jury may find a likelihood of confusion even

17
Case 4:23-cv-00860-P Document 316 Filed 10/15/24 Page18of32 PagelD 19565

if you find less than a majority of the factors. In other cases, a Jury may
find no likelihood of confusion even if it finds less than a majority of the
factors. These digits of confusion are flexible and do not apply
mechanically or to every case. They serve only as guides, not an exact
calculus. You must consider the application of each digit in light of the
specific facts and circumstances of evidence in this case, and you must
consider the marks in the context that a consumer perceives them in the

marketplace.

You may determine how much weight to give each factor. I wall

discuss each of these factors in turn.

The first digit of confusion for you to consider is the strength of
American Airlines’ trademarks. The strength or distinctiveness of a
mark determines the amount of protection the mark receives. Generally,
the stronger the mark, the greater the likelihood that consumers will be

confused by competing uses of the mark.

A mark’s strength depends on: (1) the categorization or type of mark,

and (2) the mark’s recognition in the marketplace.

Trademarks can be categorized along the following range of
generally increasing strength or distinctiveness: generic, descriptive,
suggestive, arbitrary, or fanciful. Generic marks are the least distinctive

and fanciful marks are the most distinctive.

18

Case 4:23-cv-00860-P Document 316 Filed 10/15/24 Page19o0f32 PagelD 19566

The stronger or more distinctive the mark, the greater the likelihood
that consumers will be confused and the more protection it receives. The
last three categories of marks—suggestive, arbitrary and fanciful—are
considered inherently distinctive and are entitled to protection without
a showing that the marks have secondary meaning. Suggestive marks
are marks that suggest an attribute of a good or service without
describing it, These marks require the consumer to exercise his or her
imagination to apply the trademark to the goods or services. Arbitrary
marks are marks that use ordinary words that do not suggest or describe
the goods or services involved. Fanciful marks are most often coined

words.

A plaintiff can show that a mark is strongly recognized in the
marketplace based on extensive advertising, length of time in business,
public recognition, uniqueness, and the quantity of sales of the branded

products.

A strong trademark is one that consumers are likely to associate
with the owner of the mark and is rarely used by parties other than the
trademark owner, while a weak trademark is one that is not well
recognized or is often used by other parties. In short, the more

distinctive a trademark, the greater its strength.

A trademark’s strength is important in determining the scope of

protection that it receives. The greater the number of identical or similar

19
Case 4:23-cv-00860-P Document 316 Filed 10/15/24 Page 200f32 PagelD 19567

trademarks already used on different kinds of goods or services by
others, the weaker the trademark and the lower the likelihood of
confusion. You should consider all third-party use and third-party U.S.
trademark registrations, and not just use in the same industry, to
determine whether a mark is weak or strong. A mark that is widely used
on a variety of commercial goods and services by others is a weaker mark

and entitled to a narrower range of protection.

The second digit, or factor, you may use in analyzing the likelihood
of confusion is the similarity of American Airlines’ marks to the marks

used by Skiplagged.

The similarity of marks is determined by comparing their
appearance and meaning. This factor focuses not on whether the marks
are identical, but on whether they are sufficiently similar that
consumers are likely to believe that American Airlines’ product is
somehow associated with Skiplagged. A mark must be viewed in its
entirety and in the context in which it is used in the marketplace,
including how and where it is used on product packaging, labeling, and
advertising. It is the overall impression of the mark that counts. You
should not dissect the marks to compare individual features. Although
more attention should be given to the dominant portion of the marks,
the use of the same dominant words does not automatically equate to

similarity between the marks. Similarity of appearance is determined

20
Case 4:23-cv-00860-P Document 316 Filed 10/15/24 Page 21of32 PagelD 19568

on the basis of the total effect of the trademark, rather than on a

comparison of individual features.

The third digit, or factor, to consider in analyzing likelihood of
confusion is the similarity between the parties’ respective products and
services. The greater the similarity between the parties’ products or
services, the greater the likelihood of confusion. Competition between
the parties’ products or services is not necessary for consumers to
confuse them. When a company is diversified, that is, offers a number of
different goods and services, that makes it more likely that a potential
consumer would associate a non-diversified company’s services with the
diversified company. Even when products or services do not compete,

there can be confusion as to sponsorship, affiliation, or connection,

The fourth digit to consider in analyzing likelihood of confusion is
whether there is overlap between the parties’ retail outlets and
consumers. The greater the overlap between the parties’ retail outlets
and consumers, the greater the likelihood of confusion. On the other
hand, dissimilarities between the retail outlets for, and the primary
consumers of, plaintiffs and defendants’ goods lessen the possibility of

confusion, mistake, or deception.

The fifth digit to consider in analyzing likelihood of confusion is

whether the parties use the same advertising media, such as websites,

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Case 4:23-cv-00860-P Document 316 Filed 10/15/24 Page 22 o0f32 PagelD 19569

social media, etc. The greater the similarity of advertising media, the

greater the likelihood of confusion.

The sixth digit to consider in analyzing likelihood of confusion is
whether Skiplagged intended to derive benefit from the reputation of

American Airlines and/or American Airlines’ products and services.

Evidence that Skiplagged adopted or used American Airlines’
mark(s) with the intent to derive a benefit from the reputation of
American Airlines’ products and services is evidence of a likelihood of
confusion. But a defendant’s mere awareness of the plaintiffs existing

mark does not establish bad intent.

Even if Skiplagged used American Airlines’ marks with innocent
intent, you may find intent to confuse if Skiplagged subsequently used
the marks in a way that evidenced an intent to trade on American’s
reputation. Bad faith in adopting and using a trademark normally
involves the imitation of packaging material, use of identical code
numbers, adopting of similar distribution methods, or other efforts by a
party to “pass off’ its product as that of another. If there is no evidence

of intent to confuse, this factor is neutral.

The seventh digit to consider in analyzing likelihood of confusion is
evidence of actual confusion or mistake as to the source, affiliation, or
sponsorship of Skiplagged’s products and services. Actual confusion

need not be proven but may be the best evidence of likelihood of

22
Case 4:23-cv-00860-P Document 316 Filed 10/15/24 Page 23 0f 32 PagelD 19570

confusion. There may be actual confusion if people inadvertently contact
Skiplagged while looking to do business with or contact American
Airlines (or vice versa), or if people are confused about whether

Skiplagged is affiliated with American Airlines.

In determining the weight to be given to this factor, you should
consider the extent to which the type of confusion shown has been or
would be likely to sway consumer purchases. Evidence that confusion in
fact swayed consumer purchases is strong evidence of a likelihood of
confusion. However, more evidence is required to show a likelihood of
confusion when the type of confusion shown did not or cannot sway

purchases.

Actual confusion has more weight if it affects a potential consumer
considering whether to transact business with American Airlines or
Skiplagged. To show actual confusion, American Airlines may rely on
reported instances of consumer confusion. However, isolated instances
of confusion about the affiliation of two companies that do not result in
redirected business are not enough to find actual confusion. Instances of
uncertainty about affiliation or connection should be weighed against
each party’s volume of business as a whole. The confusion of both

retailers and consumers is relevant evidence of actual confusion,

Actual confusion evidence can demonstrate a likelihood of confusion

even if confused persons realize their mistake after further

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Case 4:23-cv-00860-P Document 316 Filed 10/15/24 Page 24o0f32 PagelD 19571

investigation. This is called “initial interest” confusion. A potential
consumer may not consider American Airlines’ trademarked goods or
services even if the confusion with Skiplagged’s goods or services is
cleared up. Skiplagged may have gained the consumer’s credibility and
obtained the business before or after the confusion is cleared. However,
short-lived impressions or a fleeting and quickly corrected mix-up of

names is not evidence of actual confusion.

The eighth digit to consider in analyzing likelihood of confusion ts
the degree of care exercised by purchasers. Confusion is generally more
likely if the products in question are impulse items or are inexpensive.
Conversely, a person buying a big-ticket or expensive item is ordinarily
expected to be a more careful buyer than the impulse purchaser or the
purchaser of a relatively inexpensive item. If there is evidence that
consumers use a great deal of care when making purchasing decisions,
then they may be less likely to be confused. If the items are expensive

and the buyers are sophisticated, then confusion is less likely to occur,

However, even sophisticated purchasers can be confused by similar
marks used in the same general field. Additionally, even sophisticated
purchasers can be subject to initial-interest confusion. Initial-interest
confusion is especially relevant if the parties are direct competitors in

the same market.

24
Case 4:23-cv-00860-P Document 316 Filed 10/15/24 Page 25of32 PagelD 19572

As I told you earlier, it is up to you to determine how to weigh each
digit in determining if American Airlines has proved by a preponderance
of evidence there is a likelihood of confusion. You do not need to give
equal weight to each factor. You must weigh the digits separately for

each of the trademarks asserted by American Airlines.

If you find that Skiplagged infringed American Airlines’ marks by
using American Airlines’ marks, you must also determine whether
American Airlines has proven that Skiplagged acted willfully at the time
it used the marks. Trademark infringement is willful if it is done
voluntarily and intentionally and with the specific intent to cause the
likelihood of consumer confusion as to the source of goods or services and
with the intent to cause confusion, cause mistake, or to deceive. Willful
blindness is equivalent to actual knowledge. To be willfully blind, a

person must suspect wrongdoing and deliberately fail to investigate.

If you find that Skiplagged infringed American Airline’s trademark
rights, you must then determine what damages American Airlines is
entitled to recover from Skiplagged. In this case, American Airlines
seeks actual damages and damages from Skiplagged in the form of

profits attributable to Skiplagged’s alleged infringement.

You should not conclude from the fact that 1 am instructing you
about damages that I have any opinion as to whether American Airlines

has proved liability against Skiplagged. It is your task first to decide

25
Case 4:23-cv-00860-P Document 316 Filed 10/15/24 Page 26o0f32 PagelD 19573

whether Skiplagged is liable. I am instructing you on damages only so
that you will have guidance in the event you decide that Skiplagged is
liable, and that American Airlines is entitled to recover money from

Skiplagged for infringement.

If you find for American Airlines on its Trademark infringement
claim, you must determine American’s actual damages. To recover
actual damages, American Airlines has the burden of proving, by a
preponderance of the evidence, a direct injury to American Airlines and
causation of that harm, An actual damages award must be attributable

to the infringement.

If you find that American Airlines proved actual damages, you may
make reasonable inferences from the evidence to calculate the amount
of damages. Damages means the amount of money which will
reasonably and fairly compensate American Airlines for any injury
and/or damage you find was caused by Skiplagged’s infringement of

American Airlines’ registered trademarks.
You should consider the following:

1) The injury to American Airlines’ reputation;

2) The injury to American Airlines’ goodwill, including
injury to American’s general business reputation;

3) The lost profits that American Airlines would have
earned but for Skiplagged’s infringement. Profit is
determined by deducting all expenses from gross
revenue;

26
Case 4:23-cv-00860-P Document 316 Filed 10/15/24 Page 27 of32 PagelD 19574

4) The expense of preventing customers from being
deceived; and

5) The cost of future corrective advertising reasonably
required to correct any public confusion caused by
the infringement.

When considering prospective costs (e.g., cost of future advertising,
expense of preventing customers from being deceived), you must not
overcompensate. Accordingly, your award of such future costs should not
exceed the actual damage to the value of American Airlines’ marks at
the time of the infringement by Skiplagged.

Skiplagged claims that its use of American Airlines’ trademarks is
permitted because Skiplagged made nominative fair use of the

trademark. To succeed on this defense, Skiplagged must prove the

following three things by a preponderance of the evidence:

1) Skiplagged used the trademark to refer to a product of
American Airlines that cannot be easily identified
without using the trademark;

2) Skiplagged used the trademark only as much as was
reasonably necessary to identify the product or service;
and

3) Skiplagged did not do anything in connection with using
the trademark to suggest that American Airlines
sponsored or endorsed Skiplagged or its product.
A product or service cannot be easily identified without using the

trademark if there are no equally informative words to identify the

product, or there is no other effective way to compare, criticize, refer to

27

Case 4:23-cv-00860-P Document 316 Filed 10/15/24 Page 28o0f32 PagelD 19575

or identify it without using the trademark. A reasonably necessary use
of a trademark occurs when the trademark is used no more prominently
than is needed to identify the product or service and enable consumers
to understand the reference. Skiplagged’s use of American Airlines’
trademarks to compete with American Airlines, or to make a profit, does

not by itself prevent Skiplagged from proving nominative fair use.

Question No. 5: Did American Airlines prove by a preponderance of the

evidence that the following registered trademarks are valid and

protectibie?
“AMERICAN ~%.
AIRLINES” a
&. See
& American “4,

Answer “Yes” or “No.”
Answer: Ye 3

If you answered “Yes” to Question 5, then answer Question 6.

if vou answered “No” then stop.

28
Case 4:23-cv-00860-P Document 316 Filed 10/15/24 Page 29o0f32 PagelD 19576

Question No. 6: Did American prove by a preponderance of the

evidence that American owns the following valid trademarks?

“AMERICAN j

AIRLINES”

me

sin

e «amen
American &

Answer “Yes” or “No”: (e $

If you answered “Yes” to Question 6, then answer Question 7.
If you answered “No” then stop.

Question No. 7: Did American Airlines prove by a preponderance of the
evidence that Skiplagged used American Airlines’ trademarks in a way
that is likely to cause confusion as to source, affiliation, or sponsorship?

Answer “Yes” or “No.”

Answer: _Y@ S

If you. answered “Yes” to Question 7, then answer Question 8.
Tf you. answered “No” then stop.

29
Case 4:23-cv-00860-P Document 316 Filed 10/15/24 Page 300f32 PagelD 19577

Question No. 8: Did Skiplagged prove by a preponderance of the

evidence that its use of American’s trademarks was a nominative fair
use?

Answer “Yes” or “No.”

Answer: Ye S

If you. answered “Yes” to Question. 8, then stop. If you answer
“No” answer Question. 9.

Question No, 9: Did American Airlines prove by a preponderance of the

evidence that Skiplagged acted willfully when it used American Airlines’
trademarks?

Answer “Yes” or “No.”

Answer:

if you answered “Yes” to Question 7 and you answered “No” to

Question 8, then answer Question 10. Otherwise stop.

Question No. 10: What amount of actual damages did American prove,

by a preponderance of the evidence, that it is entitled to recover as a
result of Skiplagged’s trademark infringement? Please answer in dollars
and cents.

Answer: $

If you answer Question 10 with an amount greater than $0
then answer Question 11. If not stop.

30
Case 4:23-cv-00860-P Document 316 Filed 10/15/24 Page 31of32 PagelD 19578

Question No. 11: Did Skiplagged prove by a preponderance of the

evidence that American Airlines failed to mitigate its trademark
infringement actual damages?

Answer “Yes” or “No”:

If you answer “Yes” to Question 11 then answer Question 12. [
not stop.

Question No. 12: What amount of trademark infringement actual

damages did American Airlines fail to mitigate through the exercise of

reasonable diligence? Please answer in dollars and cents.

Answer: $

Signed: Octoben W204 /I/y, J
at /éA "43 f.47 MARK T. PITTMAN

UNITED STATES DISTRICT JUDGE

31
Case 4:23-cv-00860-P Document 316 Filed 10/15/24 Page 32 of 32 PagelD 19579

CERTIFICATION

We, the jury, unanimously agree to the foregoing questions and
return this form as our verdict in this case.
The Foreperson must sign and date this Verdict Form and inform

the bailiff that the jury has reached a verdict. The verdict ts not final until

accepted by the Court.

ww

Signature of Foreperson Date

32
